              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )
                                        )
       v.                               ) Criminal Action No.
                                        ) 09-00296-03-CR-W-FJG
ROBERT E. STEWART,                      )
                                        )
                   Defendant.           )
                  ORDER GRANTING MOTION TO SEVER COUNTS

       Before the court is defendant’s motion to sever count one,

charging all six defendants with a drug conspiracy, from count

two, charging defendant Angell with witness intimidation.                I find

that the offenses charged in counts one and two of the indictment

are not, on the face of the indictment, alleged to be part of the

same series of acts or transactions; therefore, defendant’s

motion will be granted.
I.     BACKGROUND

       On September 24, 2009, an indictment was returned charging

defendant and five others with one count of conspiracy to

distribute methamphetamine, cocaine, and marijuana, in violation

of 21 U.S.C. § 846, and defendant John Angell with one count of

witness intimidation, in violation of 18 U.S.C. §§ 1512(b)(2) and

(g).

       On October 1, 2009, defendant Stewart filed a motion to

sever counts on the ground that the two counts are improperly

joined since they are not “of the same or similar character or .

. . based on the same act or transaction or on two or more acts




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or transactions connected together or constituting parts of a

common scheme or plan.” (document number 37).

       On October 13, 2009, the government filed a response in

opposition to the motion, arguing that the two counts are

connected with the same common scheme because “Count Two charges

defendant Angell with threatening a witness in connection with

law enforcement’s investigation and prosecution of that same

narcotics conspiracy [charged in Count One]” (document number

69).    The government argues that:

       Defendant mistakenly proffers that the threats alleged in
       Count Two are based on a separate case, United States v.
       William Eneff, et al., 07-CR-0020-CR-W-FJG. In fact, the
       Eneff case is a companion case to the current, above-
       captioned case. Because of the large number of putative
       defendants in the two motorcycle clubs, it was not practical
       for the government to charge all of the defendants in a
       single indictment. However, both indictments arise from the
       same conspiracy by club members from 2002 to 2007 to pool
       common funds to purchase methamphetamine, cocaine and
       marijuana. The drugs were distributed back to club members
       for use at certain “runs” the clubs held every year. In
       sum, the indictments allege that the defendants conspired to
       distribute over 500 grams of methamphetamine in violation of
       21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846, which carries
       a mandatory 10-year minimum sentence.

       Count Two in the instant indictment arose from an incident
       where Defendant Angell traveled to a witness’s home on
       August 31, 2009 and made verbal threats. The witness—a
       former member of the Galloping Goose Motorcycle Club—had
       been charged in the Eneff case and was cooperating in the
       prosecution of that case and in the ongoing investigation
       against Angell and his motorcycle club brothers. The
       ongoing investigation led to the instant indictment. At the
       time of the threats, the majority of the Eneff defendants
       had already entered guilty pleas and were awaiting
       sentencing. However, other members of the motorcycle clubs
       (including Angell) knew that the investigation was ongoing
       and that additional indictments were possible.

       Because Counts One and Two in the instant indictment arise
       from the same conspiracy by members of the Galloping Goose
       and El Forstero motorcycle clubs to distribute narcotics

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      from 2002 to 2007, the offenses in Counts One and Two are
      properly joined. . . .
II.   JOINDER

      Rule 8, Federal Rules of Criminal Procedure, establishes the

requirements for joinder of offenses or defendants in the same

indictment.     The objective of Rule 8 is to balance the prejudice

inherent in joint trials against the interests in judicial

economy.    Whether counts are properly joined under Rule 8 is a

question of law.      United States v. Rodgers, 732 F.2d 625, 628

(8th Cir. 1984).      The propriety of joinder must appear on the

face of the indictment.         United States v. Wadena, 152 F.3d 831,
848 (8th Cir. 1998), cert. denied, 526 U.S. 1050 (1999); United

States v. Bledsoe, 674 F.2d 647, 655 (8th Cir.), cert. denied,

459 U.S. 1040 (1982).          See also United States v. Grey Bear, 863

F.2d 572, 573-578 (8th Cir. 1988) (en banc) (statement of Lay,

J.), cert. denied, 493 U.S. 1047 (1990).

      Both the defendant and the government utilize the wrong

subsection of Rule 8.          Unless all defendants are charged in all

counts of the indictment, joinder of offenses in multiple-
defendant cases is judged by Rule 8(b)1 rather than 8(a)2.

      1
      Two or more defendants may be charged in the same
indictment or information if they are alleged to have
participated in the same act or transaction or in the same series
of acts or transactions constituting an offense or offenses.
Such defendants may be charged in one or more counts together or
separately and all of the defendants need not be charged in each
count.
      2
      The indictment or information may charge a defendant in
separate counts with 2 or more offenses if the offenses charged--
whether felonies or misdemeanors or both--are of the same or
similar character, or are based on the same act or transaction,

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United States v. Southwest Bus Sales, 20 F.3d 1449, 1454 (8th

Cir. 1994).   This is significant because the language of Rule

8(a) does not allow joinder on the same basis as 8(b); the words

“same or similar character” are omitted from 8(b).            The rationale

for applying 8(b) rather than 8(a) in multiple-defendant cases is

stated in United States v. Jones, 880 F.2d 55, 61 (8th Cir.

1989):

     When similar but unrelated offenses are jointly charged to a
     single defendant, some prejudice almost necessarily results,
     and the same is true when several defendants are jointly
     charged with a single offense or related offenses. Rule
     8(a) permits the first sort of prejudice and Rule 8(b) the
     second. But the Rules do not permit cumulation of prejudice
     by charging several defendants with similar but unrelated
     offenses.

(citing Cupo v. United States, 359 F.2d 990 (D.C. Cir. 1966),
cert. denied, 385 U.S. 1013 (1967)).        Therefore, there are

definite limits to what the government can put together in a

single indictment.    United States v. Nicely, 922 F.2d 850, 853

(D.C. Cir. 1991).

     For joinder of defendants under Rule 8(b) to be proper,

there must be some common activity involving all of the
defendants which embraces all the charged offenses even though

every defendant need not have participated in or be charged with

each offense.   United States v. Gravatt, 280 F.3d 1189, 1191 (8th
Cir. 2002); United States v. Sazenski, 833 F.2d 741, 745 (8th

Cir. 1987), cert. denied, 485 U.S. 906 (1988).          Furthermore, to

be part of the “same series of acts,” the offenses charged must


or are connected with or constitute parts of a common scheme or
plan.

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be part of one overall scheme about which all joined defendants

knew and in which they all participated.        Id.; United States v.
Bledsoe, 674 F.2d 647, 656 (8th Cir.), cert. denied, 459 U.S.

1040 (1982).   Rule 8(b)’s language “may not be read to embrace

similar or even identical offenses, unless those offenses are

related. . . .   [T]here must be a logical relationship between

the acts or transactions within the series.”          United States v.

Nicely, 922 F.2d at 853 (quoting United States v. Perry, 731 F.2d

985, 990 (D. C. Cir. 1984)).

     In the Eighth Circuit, the current rule of law is that

whether joinder is proper must be determined from the face of the

indictment.    United States v. Wadena, 152 F.3d 831, 848 (8th
Cir.), cert. denied, 526 U.S. 1050 (1998).         That issue was the

subject of a split decision in United States v. Grey Bear, 863

F.2d 572 (8th Cir. 1998) (en banc) (5-5 decision), where five

judges believed that the face of the indictment is where the

analysis stops and five judges believed that under certain

circumstances, the courts should be able to look beyond the face
of the indictment.    To date, the Eighth Circuit Court of Appeals

has not amended the requirement that proper joinder be evident

from the face of the indictment, although several other circuits

allow the courts to look beyond the face of the indictment.                 See
United States v. Tubol, 191 F.3d 88, 95 (2nd Cir. 1999) (joinder

is proper when same evidence will support both of joined counts);

United States v. Cardwell, 433 F.3d 378, 385 (4th Cir. 2005)

(court looks to evidence presented at severance hearing, or


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allegations in indictment and evidence presented at trial), cert.

denied, 547 U.S. 1061 (2006); United States v. Morales, 108 F.3d

1213, 1219 (10th Cir. 1997) (courts may look to evidence to

determine proper joinder); United States v. Gbemisola, 225 F.3d

753, 760 (D.C. Cir.) (courts may look to evidence to determine

proper joinder), cert. denied, 531 U.S. 1026 (2000).            Cf. United

States v. Fenton, 367 F.3d 14, 21 (1st Cir. 2004) (face of

indictment); United States v. McGill, 964 F.2d 222, 241 (3rd

Cir.) (face of indictment), cert. denied, 506 U.S. 1023 (1992);

United States v. Butler, 429 F.3d 140, 146 (5th Cir. 2005) (face
of the indictment), cert. denied, 547 U.S. 1131 (1986); United

States v. Chavis, 296 F.3d 450, 456-457 (6th Cir. 2002) (face of

the indictment); United States v. Lanas, 324 F.3d 894, 899 (7th

Cir.) (face of the indictment), cert. denied, 540 U.S. 882

(2003); United States v. Rousseau, 257 F.3d 925, 931 (9th Cir.

2001) (face of the indictment), cert. denied, 534 U.S. 1013

(2001); United States v. Dominguez, 226 F.3d 1235, 1238 (11th

Cir. 2000) (face of the indictment), cert. denied, 532 U.S. 1039
(2001).

     Count one of the indictment in this case charges that

between January 1, 2002, and July 31, 2007, all of the defendants

conspired to distribute 500 grams or more of methamphetamine,

some amount of cocaine, and some amount of marijuana.            Count two

charges co-defendant Angell with threatening to cause bodily harm

to Michael Hensley to retaliate against him for information he

provided to Detective Steve Cook, “relating to the commission of


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Federal Narcotics Offenses pursuant to Title 21, United States

Code Section 841(a)(1) et seq. by members of the El Forastero and

Galloping Goose Motorcycle Clubs” on August 31, 2009. Defendant’s

argument is that the

     drug conspiracy referred to in Count I is wholly
     different from the threat charged in Count II as it
     involved a different conspiracy and different
     individuals. No effort is made in the indictment even
     to suggest that the offenses are of the same or similar
     character or that they are part of the same transaction
     or parts of a common scheme engaged in by the other
     five defendants charged in Count One.

     The government argues that counts one and two “arise from

the same conspiracy by members of the Galloping Goose and El

Forstero motorcycle clubs to distribute narcotics from 2002 to

2007”.

     Counts one and two of the indictment read as follows:

                            COUNT ONE
     That between on or about January 1, 2002, to and including
     July 31, 2007, said dates being approximate, in the Western
     District of Missouri and elsewhere, JOHN B. ANGELL, ERIC G.
     BURKITT, a/k/a “Little Eric,” ROBERT E. STEWART, JAMES M.
     COX, a/k/a “Liberty Jim,” STEVE W. LARSON, and NICHOLAS E.
     DONKERSLOOT, defendants herein, did knowingly and
     intentionally combine, conspire, confederate and agree with
     each other and others, both known and unknown to the grand
     jury, to distribute: (1) a mixture or substance containing a
     detectable amount of methamphetamine, a Schedule II
     controlled substance, in an amount of five hundred (500)
     grams or more; (2) cocaine, a Schedule II controlled
     substance; and (3) marijuana, a Schedule I controlled
     substance contrary to the provisions of Title 21, United
     States Code, Sections 841(a)(1) and 841(b)(1)(A), all in
     violation of Title 21, United States Code, Section 846.

                            COUNT TWO
     That on or about August 31, 2009, in the Western District of
     Missouri and elsewhere, JOHN B. ANGELL, defendant herein,
     did knowingly engage in conduct, and attempt to engage in
     conduct, threatening to cause bodily harm to Michael J.
     Hensley, with the intent to retaliate against Michael J.
     Hensley for information provided by him to Detective Steve

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     Cook, a law enforcement officer with the Independence,
     Missouri Police Department, relating to the commission of
     Federal Narcotics Offenses pursuant to Title 21, United
     States Code Section 841(a)(1) et seq. by members of the El
     Forastero and Galloping Goose Motorcycle Clubs; contrary to
     the provisions of Title 18, United States Code, Sections
     1513(b)(2) and (g).

     Although it possibly could have, the indictment does not

allege in count two that the information about narcotics offenses

was actually information about the crime alleged in count one.

The government states that its evidence will prove such, but

because proper joinder must be evident from the face of the

indictment, I am limited to the words reprinted above.             Those

words do not incorporate or refer to count one, and no where in

count one does the indictment refer to Michael Hensley, the El

Forastero Motorcycle Club, or the Galloping Goose Motorcycle Club

(or any motorcycle club for that matter), and therefore I am

unable to determine from the face of the indictment that count

two is related to count one.
     Neither is count two an overt act of the conspiracy charged

in count one.   The conspiracy allegedly began on January 1, 2002,

and ended on July 31, 2007 -- 13 months before the threat that is

alleged in count two.

     A variety of courts have sanctioned joinder of underlying

substantive charges with additional charges arising out of

post-charge or post-investigation conduct calculated to hinder

prosecution or escape liability on the original charges.             See
United States v. Carnes, 309 F.3d 950, 957-958 (6th Cir. 2002)

(holding joinder of witness tampering count with underlying


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felon-in-possession charge was proper); United States v. Balzano,

916 F.2d 1273, 1280 (7th Cir. 1990) (holding joinder of witness

intimidation count with conspiracy and extortion counts was

proper because intimidation amounted to attempt to cover up or

escape liability for underlying offenses and, thus, “was clearly

part and parcel of the same criminal scheme”); United States v.

Chagra, 754 F.2d 1186, 1188 (5th Cir. 1985) (holding counts

alleging obstruction of justice and possession with intent to

distribute marijuana were properly joined with conspiracy and

murder counts where former acts were committed for purpose of

avoiding punishment for latter); United States v. Davis, 752 F.2d
963, 972 (5th Cir. 1985) (joinder of obstruction of justice count

with underlying mail fraud and false statements counts proper

where evidence of fraud tended to establish motive for

obstruction of justice and, similarly, evidence of obstruction,

i.e., failure to produce subpoenaed documents and alleged

interference with witness, tends to establish defendant’s guilty

consciousness of underlying substantive offenses).            See also
United States v. Kaler, 2001 WL 303349, at *2 (6th Cir. March 20,

2001) (unpublished opinion) (holding escape or failure to appear

charge and underlying offense are “connected together” and

properly joined under Rule 8(a) if charges are related in time,

motive for flight was avoidance of prosecution of the underlying

offense, and custody derived directly from the underlying

offense).




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     Although the government is certainly able to join a witness

retaliation count with a drug conspiracy count if it so chooses,

one count of the indictment must somehow refer to the other count

so that the court is able to make a determination from the face

of the indictment whether the counts are part of the same series

of acts or transactions.
III. CONCLUSION

     Because it is impossible to tell from the face of the

indictment that both of the offenses charged are part of the same

series of acts or transactions, I find that count one is

improperly joined with count two.        Therefore, it is

     ORDERED that defendant’s motion to sever count one from

count two is granted.       The trial of all the defendants on count

one will take place on the December 7, 2009, criminal trial

docket.

     Counsel are reminded that objections to this order on the
ground that it is clearly erroneous or contrary to law must be

filed and served within ten days.




                                   ROBERT E. LARSEN
                                   United States Magistrate Judge

Kansas City, Missouri
November 19, 2009




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